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                                                                 Monday, 15 January, 2018 05:01:46 PM
                                                                         Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
               Plaintiff,                  )
                                           )
       vs.                                 )       Case No. 17-CR-20037
                                           )
BRENDT A. CHRISTENSEN,                     )
                                           )
              Defendant.                   )

   THE UNITED STATES OF AMERICA’S MOTION TO FILE UNDER SEAL ITS
    MOTION TO ADMIT EVIDENCE PURSUANT TO RULES 404(b) AND 413
                OF THE FEDERAL RULES OF EVIDENCE

       NOW COMES the United States of America, by John E. Childress, United States

Attorney for the Central District of Illinois, and Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, and hereby requests permission from this Court,

pursuant to Local Criminal Rule 49.9(A)(2), to file under seal its motion to admit

evidence during the case-in-chief of the United States pursuant to Rules 404(b) and 413 of

the Federal Rules of Evidence. In support of its motion, the United States hereby states as

follows:

       1.     The United States recognizes that the public presumptively has a right of

access to the records of judicial proceedings, see United States v. Ladd, 218 F.3d 701, 704

(7th Cir. 2000) (citing Press–Enterprise Co. v. Superior Court, 464 U.S. 501, 509 (1984)), and

that this Court “does not approve of filing of documents under seal as a general matter.”

Local Criminal Rule 49.9(A)(2).
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        2.      The right of access, however, is not absolute. For example, courts routinely

seal certain criminal materials to protect an ongoing criminal matter. See Times Mirror Co.

v. United States, 873 F.2d 1210, 1218-19 (9th Cir. 1989); In re Search Warrant, 855 F.2d 569,

573, 575 (8th Cir. 1988); Matter of Sealed Affidavit(s) to Search Warrants, 600 F.2d 1256 (9th

Cir. 1979). See also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650

F.2d 293 (D.C. Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975); In re State

(Bowman Search Warrants), 781 A.2d 988, 994 (N.H. 2001).

        3.      Additionally, to protect the privacy of potential witnesses, this Court

requires witness lists to be filed under seal and also requires certain identifying

information to be redacted, prior to filing. Moreover, a prosecutor in a criminal case must

exercise reasonable care to prevent extrajudicial statements that may have a substantial

likelihood of heightening public condemnation of the accused. Model Rules of Prof’l

Conduct R. 3.8(f). While Rule 3.8(f) does not apply to judicial statements, such as a

motion to admit evidence, its underlying reasons, nonetheless, counsel that a prosecutor

should take reasonable care in filing motions so as not to unfairly prejudice a defendant’s

right to a fair trial.

        4.      Those concerns are heightened here due to the potential penalty the

defendant faces and the media attention given to this case.

        5.      Necessarily, the motion of the United States to admit evidence pursuant to

Rules 404(b) and 413 contains information regarding potential witnesses and evidence.

Out of an abundance of caution, and to ensure the privacy of the potential witnesses and




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the defendant’s right to a fair trial, the United States requests permission to file its

motion to admit evidence under seal.



       WHEREFORE, the United States of America respectfully requests that this Court

grant its motion to file under seal its motion to admit evidence.



                                             Respectfully submitted,

                                             JOHN E. CHILDRESS
                                             UNITED STATES ATTORNEY


                                            s/ Eugene L. Miller
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                              CERTIFICATE OF SERVICE

      I hereby certify that on January 15, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of the

filing to all CM/ECF participants.




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